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INVESTING
IN THE LAW
Firm Overview
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“If we desire respect for
 the law, we must first
 make the law respectable.”
Louis D. Brandeis - 16 October 1912.
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                                         WE BELIEVE IN BOTH THE SPIRIT
                                         AND THE LETTER OF THE LAW.
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    Scott+Scott specializes in the investigation and prosecution of

    complex actions across the globe – recovering billions for its



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    clients. The Firm has extensive experience litigating securities

    fraud, antitrust, and other complex cases and is a pioneer in

    structured finance monitoring for client portfolios. We represent

    individual, institutional and multinational clients in the U.S and

    EU courts, offering a one-stop shop for international recoupment.


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                                                       Scott+Scott was founded in 1975 and began its securities litigation practice in 1997. The
                                                       Firm has since grown into one of the most respected law firm specializing in the investigation
                                                       and prosecution of complex actions across the United States and in Europe. Today, it is
                                                       comprised of over 125 team members, including over 100 highly experienced attorneys,
                                                       a 30+ paraprofessional team comprised of paralegals and legal assistants, a finance
                                                       manager, institutional investor liaisons, and other office support staff, in addition to an
                                                       IT support and development group, financial analysts, forensic accountants, investment
                                                       consultants, and an in-house investigations department.

                                                       Scott+Scott is headquartered in Connecticut and has additional offices in New York,
                                                       London, Amsterdam, Berlin, California, Virginia, Ohio, and Arizona.



THE FIRM
                                                       Scott+Scott has extensive experience litigating securities fraud, antitrust, and other
                                                       complex cases on behalf of our institutional and individual clients throughout the United
                                                       States, serving as lead counsel in numerous securities class actions since the enactment
                                                       of the Private Securities Litigation Reform Act of 1995 (“PSLRA”) and as lead and co-lead
                                                       counsel in antitrust, consumer, and other complex litigation. The Firm also represents
                                                       many multinational corporations in foreign jurisdiction litigation in the EU courts.

                                                       Scott+Scott’s attorneys are recognized experts and leaders in securities monitoring,
                                                       complex litigation, and corporate governance law. They regularly speak at institutional
                                                       investor educational conferences around the world and before boards of directors and
                                                       trustees responsible for managing institutional investments. Scott+Scott attorneys educate
                                                       institutional investors and governmental entities on the importance of fulfilling fiduciary
                                                       obligations through the adoption of appropriate asset recovery services, as well as
                                                       through the development and enforcement of corporate governance initiatives.

                                                       Scott+Scott has been a pioneer in structured finance monitoring of our clients’ portfolios and
                                                       the Firm’s vast experience in structured debt financial litigation has enabled us to provide
                                                       clients with in-depth monitoring of their structured finance products. Structured-finance
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products, like asset-backed securities and collateralized debt obligations, attract investors
with high returns relative to other fixed-income instruments. However, those returns
can come with substantial undisclosed risks due to investors’ limited ability to assess
what they are actually acquiring. Most investors cannot review the assets that underlie
securitizations, nor negotiate around the boiler-plate terms that govern securitizations,
and have very little control over the parties that administer securitizations.

Scott+Scott’s portfolio monitoring service responds to these unique risks. Importantly,
the Firm does not just track the performance of our clients’ structured-finance positions.
We analyze it in the context of other data that allows us to understand what drives losses,
should any occur. Initially, Scott+Scott conducts a review of the overall record of the
parties that issue and administer our clients’ structured-finance investments, such
as sponsors, servicers, and trustees. The conduct of those parties reveals whether a
securitization is suffering from hidden flaws, such as defective underlying assets, for
which investors should be compensated. In addition, Scott+Scott reviews securitiza-
tions’ asset-level performance ts and their governing agreements to identify any specific
instances of those parties breaching their obligations and harming investors. This
comprehensive approach enables Scott+Scott to identify hard-to-spot wrongdoing and
hold the appropriate parties responsible, ultimately winning significant recoveries for clients
who purchased structured-finance products. The Firm has also evaluated and monitored
debt and debentures originating from private placements and non-public companies,
including municipal bonds and derivatives for our clients.
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                                    ANTITRUST
                                    LITIGATION
Scott+Scott represents investors, businesses, and consumers in price-fixing,
bid-rigging, monopolization, and other restraints of trade cases on both a
class-wide and individual basis. The Firm’s work for its clients helps ensure that
markets remain free, open, and competitive.

Scott+Scott has been recognized by the American Antitrust Institute with an
Outstanding Antitrust Litigation Achievement in Private Law Practice award in
2020, 2018, and an honorable mention in 2014. In addition, the 2018 Antitrust Annual
Report found that in 2018, the Firm had the highest antitrust settlement in the
country, as well as ranking first nationally in aggregate setttlement amount from
2013 to 2018, recovering over $3.4 billion. Scott+Scott’s dedicated team of
antitrust partners have built one of the nation’s top plaintiffs’ firms for antitrust
actions. Furthermore, our European expansion reflects a commitment and ability to
pursue claims on a global basis.
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    Antitrust

    CASE EXAMPLES
    Antitrust actions in which Scott+Scott currently serves as a lead or co-lead counsel include:                • In re Korean Air Lines Co., Ltd. Antitrust Litig., MDL No. 1891 (C.D. Cal.) (challenging price-
    • In re: Foreign Exch. Benchmark Rates Antitrust Litig., No. 13-cv-07789 (S.D.N.Y.) (challenging             fixing/illegal surcharge of ticket prices; $86 million in cash and travel voucher settlements); and
     price-fixing of foreign exchange rates; over $2.3 billion in final-approved settlements).                   • Mylan Pharms., Inc. v. Warner Chilcott Pub. Ltd. Co., No. 12-cv-03824 (E.D. Pa.)
     The largest antitrust settlement of 2018 according to the American Antitrust Institute;                      (challenging monopolization in the sale of name-brand pharmaceutical on behalf of indirect
    • In re Disposable Contact Lens Antitrust Litig., No. 15-md-02626 (M.D. Fla.)                               purchaser class; $8 million settlement).
     (class action alleging illegal anticompetitive policies to eliminate discount pricing by the major
                                                                                                                 The Firm has aided in the recovery for class members by serving on the executive leadership
     manufacturers and distributors of disposable contact lenses);
                                                                                                                 committees in numerous other class action litigation, including:
    • I n re European Gov’t Bonds Antitrust Litig., No. 19-cv-02601 (S.D.N.Y)
                                                                                                                 • In re Payment Card Interchange Fee & Merch. Discount Antitrust Litig., No. 05-md-01720
     (challenging manipulation in the market for European Government Bonds);
                                                                                                                  (E.D.N.Y.) (challenging price-fixing in the payment cards industry; $6.24 billion settlement
    • In re ICE LIBOR Antitrust Litig., No. 19-cv-02002 (S.D.N.Y.)
                                                                                                                  preliminarily approved);
     (class action alleging anticompetitive conduct in the setting of the ICE LIBOR benchmark rate);
                                                                                                                 • Kleen Products LLC v. Int’l Paper Co., No. 10-cv-05711 (N.D. Ill.) (challenging price-fixing of
    • Deslandes v. McDonalds USA, LLC, No. 17-cv-04857 (N.D. Ill.) (class action challenging
                                                                                                                  containerboard products; over $376 million in settlements);
     no-hire agreement among McDonald’s franchisees);
                                                                                                                 • In re Lithium Ion Batteries Antitrust Litig., No. 13-md-02420 (N.D. Cal.)
    • B utler v. Jimmy John’s Franchise, LLC, No. 18-cv-00133 (S.D. Ill.) (class action challenging
                                                                                                                  (challenging price-fixing of lithium-ion batteries on behalf of indirect purchaser class;
     no-hire agreement among Jimmy John’s franchisees); and
                                                                                                                  over $113 million in settlements); and
    • B lanton v. Domino’s Pizza Franchising LLC, No. 18-cv-13207 (E.D. Mich.) (class action
                                                                                                                 • In re Mexican Gov’t Bonds Antitrust Litig., No. 18-cv-02830 (S.D.N.Y.) (an antitrust class
     challenging no-hire agreement among Domino’s franchisees).
                                                                                                                  action by eight institutional investors prosecuting 10 global financial institutions for colluding to
    Antitrust cases in which Scott+Scott previously served as lead or co-lead counsel include:                    fix the prices of debt securities issued by the Mexican Government between 2006 and 2017).
    • Dahl v. Bain Capital Partners, LLC, No. 07-cv-12388 (D. Mass.) (challenging bid rigging and
                                                                                                                 Scott+Scott’s class action antitrust experience includes serving as co-trial counsel in:
     market allocation of leveraged buyouts by private equity firms; $590.5 million in settlements);
                                                                                                                 • In re Scrap Metal Antitrust Litig., No. 02-cv-00844 (N.D. Ohio) (helped obtain a
    • Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-07126 (S.D.N.Y.) (challenging
                                                                                                                  $34.5 million jury verdict, which was subsequently affirmed by the U.S. Court of
     price-fixing of the ISDAfix benchmark interest rate; $504.5 million in settlements).
                                                                                                                  Appeals for the Sixth Circuit); and
     The 3rd largest antitrust settlement of 2018 according to the American Antitrust Institute;
                                                                                                                 • Ross v. Bank of Am. N.A., MDL No. 1409 (S.D.N.Y.) (bench trial involving
    • In re GSE Bonds Antitrust Litig., No. 19-cv-01704 (S.D.N.Y.) (challenging manipulation in the
                                                                                                                  agreement among payment cards to impose arbitration terms on cardholders).
     market for bonds issued by Government-Sponsored Entities, e.g., Freddie Mac and Fannie Mae;
     $386 million settlement);
                                                                                                                              +
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                                                    SECURITIES &
                                                    CORPORATE
                                                    GOVERNANCE
                                                    Scott+Scott’s practice is principally focused on securities class action and
                                                    corporate governance litigation aimed at recovering investment and other losses for
                                                    institutional and individual investors who have suffered from corporate securities
                                                    fraud. The Firm’s services begin with investigating and identifying potential
                                                    violations of law adversely affecting overall fund values for our clients. When
                                                    appropriate, Scott+Scott prosecutes actions on a class or individual basis.
                                                    Through our commitment to the best interests of those the Firm represents,
                                                    Scott+Scott has successfully obtained exceptional monetary results and precedent-
                                                    setting corporate governance reforms on behalf of investors.
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Securities

CASE EXAMPLES
+ It is this Court’s position that Scott+Scott did

  a superlative job in its representation....and
                                                                                 Representative cases prosecuted by Scott+Scott under the federal securities
                                                                                 laws include:
                                                                                 • Alaska Elec. Pension Fund v. Pharmacia Corp., No. 03-cv-01519 (D.N.J.)
                                                                                  ($164 million settlement);
                                                                                 • In re Priceline.com, Inc. Sec. Litig., No. 00-cv-01884 (D. Conn.) ($80 million settlement);
                                                                                 • Irvine v. ImClone Sys., Inc., No. 02-cv-00109 (S.D.N.Y.) ($75 million settlement);
                                                                                 • Cornwell v. Credit Suisse Grp., No. 08-cv-03758 (S.D.N.Y.) ($70 million settlement);
  demonstrated a remarkable grasp and handling
                                                                                 • Policemen’s Annuity & Benefit Fund of Chi. v. Bank of Am., N.A., No. 12-cv-02865 (S.D.N.Y.)
                                                                                  ($69 million settlement);
  of the extraordinarily complex matters in this                                 • In re SanDisk LLC Sec. Litig., No. 15-cv-01455 (N.D. Cal.) ($50 million settlement);
                                                                                 • Weston v. RCS Capital Corp., No. 14-cv-10136 (S.D.N.Y.) ($31 million settlement);

  case. The extremely professional and thorough                                  Representative shareholder derivative actions prosecuted by Scott+Scott include:
                                                                                 • Irving Firemen’s Relief and Retirement Fund v. Page, C.A. No. 2019-0355-Sg (Del. Ch. 2020)
                                                                                  ($310 million in funding for corporate governance reform programs over 10 years);
  means by which NYU’s counsel has litigated
                                                                                 • In re DaVita Healthcare Partners Deriv. Litig., No. 13-cv-01308 (D. Colo.)
                                                                                  (corporate governance reforms valued at $100 million);
  this matter has not been overlooked by this                                    • Buffalo Grove Police Pension Fund v. Diefenderfer, No. 19-cv-00062 (E.D. Pa.)
                                                                                  (settlement of claims against officers and directors of Navient Corp.
                                                                                  providing for corporate governance reforms valued at $139 million);
  Court. They have possessed a knowledge of                                      • Tharp v. Acacia Commc’ns, Inc., No 1:17-cv-11504 (D. Mass.) (settlement of claims against
                                                                                  Acacia Communications, Inc. and its officers and directors providing for corporate gover-




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  the issues presented and this knowledge has                                     nance reforms valued at $57 to $71 million);
                                                                                 • N. Miami Beach Gen. Emps. Ret. Fund v. Parkinson, No. 10-cv-06514 (N.D. Ill.)
                                                                                  (corporate governance reforms valued between $50 and $60 million);
  always been used to benefit all investors.                                     • In re Marvell Tech. Grp. Ltd. Deriv. Litig., No. 06-cv-03894 (N.D. Cal.)
                                                                                  ($54.9 million settlement and corporate governance reforms);
            The Honorable Richard B. Lowe III, New York Supreme Court
         New York University v. Ariel Fund Ltd. ruling - 29 September 2009
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                                                    NON-TRADITIONAL
                                                    RECOVERY
                                                    MONITORING
                                                    Scott+Scott monitors clients’ portfolios to ensure that public funds can recover
                                                    assets when recourse under the “traditional” securities laws is unavailable.
                                                    Increasingly, clients are suffering losses from conduct that is not subject to the
                                                    federal securities laws, for example, when banks conspire to manipulate the
                                                    operation of the financial markets. Federal courts have appointed the Firm to
                                                    leadership positions in antitrust class cases relating to anticompetitive conduct
                                                    to manipulate the foreign currency market, the LIBOR rate, and the ISDAfix rate.
                                                    In these instances, a fund needs to have a system in place that monitors for
                                                    these types of situations and enables trustees to make informed decisions on
                                                    the ‘‘non-traditional” remedies available to protect their fund’s interests. Such
                                                    a system requires monitoring counsel to have an in-depth understanding of
                                                    the U.S. antitrust laws, foreign laws and procedures, and securitization issues.
                                                    Scott+Scott is on the forefront of obtaining substantial recoveries for its fund
                                                    clients through the use of these ‘‘non-traditional” methods.
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                                             “OPT OUT”
                                             LITIGATION
In addition to its class action work, Scott+Scott also represents clients in
opt-out antitrust litigation. The Firm’s success in class actions allows it to
provide its opt-out clients unique and valuable insights. Representative clients
include Parker Hannifin Corporation, PolyOne Corporation, Eastman Kodak
Company, and Fujifilm Manufacturing U.S.A., Inc., in the following matters:

• In re: Aluminum Warehousing Antitrust Litig., MDL No. 2481 (S.D.N.Y.);
• In re Rubber Chemicals Antitrust Litig., MDL No. 1648 (N.D. Cal.);
• In re Polychloroprene Rubber (CR) Antitrust Litig., MDL No. 1642 (D. Conn.); and
• In re Plastic Additives Antitrust Litig. (No. II), MDL No. 1684 (E.D. Pa.).
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                                                    CONSUMER
                                                    LITIGATION
                                                    Scott+Scott’s Consumer Practice Group consists of some of the premier advocates
                                                    in the area of consumer protection and has been at the forefront in litigating and
                                                    securing some of the most significant consumer protection settlements on behalf
                                                    of its clients, resulting in hundreds of millions of dollars to class members. The
                                                    Firm’s Consumer Practice Group has attorneys dedicated to three primary areas:
                                                    Data Breach/Data Privacy Litigation, Healthcare and Pharmaceutical Litigation, and
                                                    Consumer Protection Litigation.
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DATA BREACH/DATA PRIVACY LITIGATION                                                                                      •G
                                                                                                                           reater Chautauqua Federal Credit Union v. Kmart Corporation, No. 1:15-cv-02228
Scott+Scott has extensive experience litigating data privacy and data breach class actions                                (N.D. Ill.) (settlement valued at $13.4 million on behalf of financial institutions injured by
advancing cutting-edge legal theories. The Firm has achieved some of the largest recoveries                               the theft of sensitive payment card information); and
in this area and currently serves in a leadership capacity in a number of data privacy and                               • W inSouth Credit Union v. Mapco Express, Inc., No. 3:14-cv-01573 (M.D. Tenn.) (largest
data breach class actions, including:                                                                                     per dollar per card recovery involving payment card data breach brought on behalf of a
• In re Equifax, Inc. Customer Data Security Breach Litigation, No. 1:17-md-02800 (N.D.                                  class of financial institutions).
 Ga.) (claims on behalf of financial institutions injured as a result of the 2017 Equifax data
 breach that exposed the personal and financial information of approximately 150 million                                 INSURANCE AND PHARMACEUTICAL LITIGATION
 U.S. consumers; preliminary approval of settlement valued at $32.5 million);                                            Scott+Scott represents consumers and health and welfare funds throughout the United
• In re Google Assistant Privacy Litigation, No. 5:19-cv-04286 (N.D. Cal.) (class action                                States who have been overcharged in connection with their insurance and pharmaceutical
 on behalf of consumers alleging privacy violations whereby Google Assistant records and                                 transactions. The Firm currently serves in a leadership capacity in a number of insurance
 discloses their private confidential communications without consent);                                                   and pharmaceutical class actions, including:

• Lopez v. Apple Inc., No. 4:19-cv-04577 (N.D. Cal.) (class action on behalf of consumers                               • Sohmer v. UnitedHealth Group Inc., No. 0:18-cv-03191 (D. Minn.) (co-lead counsel; claims
 and their minor children alleging privacy violations by Apple through its Siri application); and                         on behalf of plan participants alleging overcharge for prescription drug copayments);

• In re: American Medical Collection Agency, Inc. Customer Data Security Breach                                         • N egron v. Cigna Corporation, No. 3:16-cv-01702 (D. Conn.) (chair of executive
 Litigation, No. 2:19-md-02904 (D.N.J.) (claims on behalf of consumers involving data                                     committee; claims on behalf of plan participants alleging overcharge for prescription
 breach of personal information).                                                                                         drug copayments);

Recently, in settling a class action against The Wendy’s Co. involving a breach of personal                              • F orth v. Walgreen Co, Inc., No. 1:17-cv-02246 (N.D. Ill.) (class action on behalf of
and financial information, the court, in approving the $50 million dollar settlement, noted that                          consumers and third party union benefit funds alleging unlawful overcharges for medically
Scott+Scott and its attorneys demonstrated “very significant experience in these types of                                 necessary prescription drugs); and
class actions and in data breach litigation” and that the attorneys “brought to the table an                             • Stafford v. Rite Aid Corporation, No. 3:17-cv-01340 (S.D. Cal.) (class action on behalf
incredible wealth of knowledge, was always prepared, really was thorough and profes-                                      of consumers who were overcharged for prescription drug claims).
sional in everything that was provided to the Court.” First Choice Federal Credit Union v.
The Wendy’s Co., No. 2:16-cv-00506, Transcript at 32 (W.D. Pa. Nov. 6, 2019).                                            REPRESENTATIVE INSURANCE AND PHARMACEUTICAL CASES
                                                                                                                         Scott+Scott have significant experience litigating against insurance companies and
REPRESENTATIVE DATA BREACH/DATA PRIVACY CASES                                                                            pharmaceutical manufacturers. The Firm’s lawyers have obtained some of the largest
Additional data privacy and data breach settlements achieved by Scott+Scott for its                                      settlements in consumer healthcare litigation, including:
clients include:
                                                                                                                         • In re Managed Care Litig., MDL No. 1334 (S.D. Fla.) (settlements with Aetna, CIGNA,
• T he Home Depot, Inc., Customer Data Security Breach Litigation, MDL No. 2583                                          Prudential, Health Net, Humana, and WellPoint providing monetary and injunctive
 (N.D. Ga.) (co-lead counsel; $27.25 million settlement on behalf of financial institutions                               benefits exceeding $1 billion); and
 involving data breach and theft of the personal and financial information of over 40 million
                                                                                                                         • In re Prudential Ins. Co. SGLI/VGLI Contract Litigation, MDL No. 2208 (D. Mass.)
 credit and debit card holders);
                                                                                                                          ($40 million settlement was achieved on behalf of a class of military service members
• In re Target Corporation Customer Data Security Breach Litigation, MDL No. 2522                                        and their families who had purchased insurance contracts).
 (D. Minn.) ($59 million settlement on behalf of financial institutions injured by the theft
 of sensitive payment card information);
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CONSUMER PROTECTION LITIGATION
Scott+Scott has been at the forefront in prosecuting consumer protection actions against
organizations engaging in unfair practices. The Firm currently serves in a leadership
capacity in a number of consumer protection class actions, including:

• A quilina v. Certain Underwriters at Lloyd’s London, No. 1:18-cv-00496 (D. Haw.)
 (representing Hawaii homeowners who were placed into insurance excluding lava
 coverage and suffered devastating losses as a result of the 2018 eruption of Kilauea); and

• Morris v. Apple, Inc., No. 5:20-cv-04812 (N.D. Cal.) (class action on behalf of consumers
 who purchased iTunes gift cards under false pretenses and were not refunded the value
 of the iTunes gift cards).

Representative Consumer Protection Cases:
Over the past decade, Scott+Scott has litigated a number of diverse cases and fought for
rights of consumers to be treated fairly and equitably. The Firm has achieved significant
settlements that have protected consumers’ rights and recovered substantial monetary
benefits, including:

• T he Vulcan Society, Inc. v. The City of New York, No. 1:07-cv-02067 (E.D.N.Y.)
 ($100 million settlement and significant injunctive relief was obtained for a class
 of black applicants who sought to be New York City firefighters, but were denied or
 delayed employment due to racial discrimination);

• In re Providian Financial Corp. Credit Card Terms Litigation, MDL No. 1301 (E.D. Pa.)
 ($105 million settlement was achieved on behalf of a class of credit card holders who
 were charged excessive interest and late charges on their credit cards);

• In re Pre-Filled Propane Tank Marketing & Sales Practices Litigation, MDL No. 2086
 (W.D. Mo.) ($37 million settlement obtained on behalf of class of propane purchasers
 who alleged defendants overcharged the class for under-filled propane tanks);

• M urr v. Capital One Bank (USA), N.A., No. 1:13-cv-01091 (E.D. Va.) ($7.3 million
 settlement pending on behalf of class of consumers who were misled into accepting
 purportedly 0% interest credit card offers); and

• G unther v. Capital One, N.A., No. 2:09-cv-02966 (E.D.N.Y.) (settlement resulting in
 class members receiving 100% of their damages in case alleging consumers were
 improperly charged undeliverable mail fees).
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                INTERNATIONAL
                    LITIGATION
Since the Supreme Court’s decision in Morrison v. Nat’l Austl. Bank Ltd.,
No. 08–1191 (2010), pension funds are seeing increased monitoring activity in
foreign jurisdiction litigation. United States funds are making increased investments
in foreign companies trading on foreign exchanges, including the emerging markets.
These companies are not immune to suffering the effects of fraud. Again, a fund
needs to have a system in place to ensure that it learns about these situations
and has an action plan to make sure that assets are protected. In the context of a
foreign company, this is particularly important given changes in the U.S. securities
laws. Notably, many foreign jurisdictions require funds to take affirmative steps to
participate in foreign cases and recover losses.

Scott+Scott has experience in foreign jurisdiction litigation and can help funds
navigate that process, so funds have the ability to participate, if they choose,
and recover losses. The Firm is able to monitor and evaluate cases filed in
non-U.S. jurisdictions and evaluate our clients’ ability to participate in those
cases. The Firm is currently litigating and evaluating cases in Europe, as well as
Australia and Canada. However, because many foreign jurisdictions require
plaintiffs to “opt-in” from the onset of the litigation, it usually requires participation
at the beginning of an action to participate in any recovery.
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                                                    SCOTT+SCOTT
                                                    LONDON
                                                    Scott+Scott’s London office specializes in pursuing violations of European
                                                    securities and antitrust laws. The Firm’s European clients are primarily multinational
                                                    corporations who have suffered losses across a number of jurisdictions.
                                                    Scott+Scott London works closely with the Firm’s U.S. and Amsterdam-based
                                                    offices to deliver integrated multi-jurisdictional strategies.

                                                    Because its legal team is highly experienced in assessing business cartel damages
                                                    Scott+Scott London has been retained by several large international companies
                                                    to recover losses caused by a decade-long and worldwide business cartel to fix
                                                    the prices and allocate markets in the cables sector.

                                                    Additionally, Scott+Scott London is acting for Michael O’Higgins FX Class
                                                    Representative in bringing a collective action in the U.K.’s Competition Appeal
                                                    Tribunal on behalf of victims of the foreign exchange cartel in Europe. The action
                                                    is brought against five of the world’s leading banks (Barclays, Citibank, JPMorgan,
                                                    RBS, and UBS) and is one of only a handful of actions brought using the U.K.’s
                                                    new regime for class actions for victims of breaches of competition law.

                                                    Scott+Scott has also brought over 20 claims in London’s High Court against
                                                    Visa and MasterCard in relation to their anticompetitive multilateral interchange
                                                    fees, acting for multinational retailers, U.K. household names, and several hotel
                                                    chains. Scott+Scott London is also working closely with the Firm’s U.S.-based
                                                    offices for Kodak in litigation in the U.K. and United States in relation to
                                                    anticompetitive conduct involving aluminium warehousing.
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                 SCOTT+SCOTT
                   AMSTERDAM
In 2019, Scott+Scott opened the Firm’s Amsterdam office. The Netherlands has
a robust litigation regime and is a premier jurisdiction for private enforcement
cases. Its courts are increasingly friendly to parties seeking damages from price fix-
ing and other forms of wrongdoing. The Netherlands also offers a mechanism for set-
tling cases on a global basis. U.S. investors can now seek compensation for losses
outside the United States without having to engage third-party Dutch law firms.

Our presence there provides our clients, whether headquartered in the US or
Europe, a one-stop shop for global recoupment. In the wake of billions of dollars
of recent fines imposed by the EU antitrust regulator, Scott+Scott Amsterdam
is currently reviewing claims on behalf of multi-national corporations against the
world’s largest truck-makers, including MAN, DAF, Daimler, Iveco, and Volvo/
Renault, for colluding to coordinate prices and pass on the costs of emission-re-
ducing technologies.
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                                                    SCOTT+SCOTT
                                                    BERLIN
                                                    Scott+Scott Berlin opened in November 2020 to be led by private enforcement expert
                                                    Markus Hutschneider who joined the firm from Deutsche Bahn, where he headed the
                                                    multinational company’s team of lawyers in the competition litigation unit. Hutschneider
                                                    has worked on several high profile cases involving the German rail track cartel, the air
                                                    cargo cartel, and the trucks cartel. He also has extensive experience negotiating out-
                                                    of-court settlements.

                                                    Germany is one of the leading European markets for manufacturing and business and
                                                    one of the top jurisdictions for corporations and other large clients seeking to recover
                                                    their losses from price-fixing cartels and other wrongdoing. Opening the Berlin office
                                                    further enhances the firm’s ability to be out in front of the developing antitrust and
                                                    regulatory environment in Germany and in the EU, allowing Scott+Scott to better
                                                    serve its multinational clients’ complex litigation needs, including for cartel damages
                                                    claims. Scott+Scott Berlin is currently advising large clients on metal packaging in
                                                    light of commission investigation.




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                    INVESTIGATIONS
      Our internal investigations unit is unmatched in its sophistication and ability to
      identify, connect with, and obtain vital information from witnesses. The Firm’s in
      house investigative department is led by attorney Alex Vargas, who has over a
      decade of legal and investigative experience. Under Vargas’ direction, investigators
      employ public record databases, in-person interviews, and forensic IT to unravel
      complex cases, discover critical “evidence” and deliver actionable intelligence.
      The team works seamlessly with a robust, international network of boots-on-the-
      ground investigative experts to navigate the privacy and banking laws of different
      jurisdictions and deliver the facts from anywhere in the world.


      The team’s investigations have contributed to recoveries in excess of $3.2 billion
      on behalf of aggrieved investors, including, notably, their efforts in identifying,
      interviewing, and working with key witnesses, as well as obtaining critical evidentiary
      materials, leading to the largest trial settlement in the securities fraud arena
      ($2.46 billion in Lawrence E. Jaffe Pension Plan v. Household Int’l Inc., No. 02-
      cv-05893 (N.D. Ill. 2006)).


      Prior to joining Scott+Scott, Mr. Vargas served as the Director of Litigation Support at
      a boutique investigation firm in New York and earlier, was employed by an investigation
      firm handling securities fraud cases exclusively. Mr. Vargas received both his B.A. and
      J.D. from the University of San Diego and is licensed to practice law in New York,
      California, and the District of Columbia.




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                                                    WORLD-CLASS
                                                    ATTORNEYS
                                                    We pride ourselves on the caliber of legal talent on our team. In addition to
                                                    some of the best and brightest rising stars, we have attorneys who have
                                                    served with distinction in the U.S. Department of Justice, been admitted to
                                                    the U.S. Supreme Court, served in OAGs at the state level, argued before
                                                    the UK’s CAT and High Courts, and received virtually every accolade offered
                                                    in our profession.
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     ATTORNEY COURT ADMISSIONS

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         International Admissions: The Netherlands; England and Wales (including Higher Rights of Audience);

         Republic of Ireland; Scotland; New South Wales, Australia; Queensland, Australia; and Germany; U.S. Admissions:

         United States Supreme Court; United States Courts of Appeal for the First, Second, Third, Fifth, Sixth,




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         Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits; United States District Courts for the Districts of

         California (Northern, Southern, Eastern, and Central), Colorado, Connecticut, Florida (Northern), Illinois

         (Northern), Massachusetts, Michigan (Eastern), Missouri (Eastern), New Jersey, New York (Southern, Eastern,

         and Western), Ohio (Northern and Southern), Pennsylvania (Eastern and Western), Texas (Northern, Western,

         and Southern), Wisconsin (Eastern and Western), and the District of Columbia; and the courts of the

         States of Arizona, California, Connecticut, Delaware, Florida, Maryland, Pennsylvania, Massachusetts,




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         Nebraska, New Jersey, New York, Ohio, West Virginia, Wisconsin, Texas, and the District of Columbia.




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     ACCOLADES
     U.S. News & World Report “Best Law Firms”
     The Firm is currently ranked by U.S. News & World Report as a “Best Law Firm”
     in commercial litigation in the New York region.

     American Antitrust Institute
     The 2018 Antitrust Annual Report recognized In re Foreign Currency Benchmark
     Rates Antitrust Litigation as the #1 settlement of 2018, as well as ranking the
     FIrm #1 nationally for aggregate settlements: 2013-2018.

     Global Competition Review
     At the 6th Annual Global Competition Review (“GCR”) Awards, Scott+Scott won
     for Litigation of the Year – Cartel Prosecution, which recognized the Firm’s efforts
     in the foreign exchange settlements in the United States, a landmark case in
     which major banks conspired to manipulate prices paid in the $5.3 trillion-per-
     day foreign exchange market and have thus far settled for more than $2 billion.

     Law 360 Glass Ceiling Report
     Scott+Scott is recognized as one of the top law firms in the nation for female
     attorneys by the legal publication Law360. The Glass Ceiling Report honors firms
     that “are demonstrating that the industry’s gender diversity goals can turn into a
     measurable result, and boost the number of women at all levels of a law firm. 1,
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         ” This selection highlights the importance Scott+Scott places on diversity and
     inclusion within the Firm.

     Center for Constitutional RIghts
     Scott+Scott was the recipient of the 2010 Center for Constitutional Rights’ Pro Bono
     Social Change Award for its representation of the Vulcan Society, an association of
     African-American firefighters, in challenging the racially discriminatory hiring practices
     of the New York City Fire Department.
      https://www.law360.com/articles/1310926
     1

      https://www.law360.com/articles/1162859/the-best-law-firms-for-female-attorneys.
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